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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


   SKYCAM, LLC, a Delaware limited liability       )
   company,                                        )
                                                   )
                         Plaintiff,                )
                                                   )
   v.                                              )
                                                   )        Case No. 09-CV-294-GKF-FHM
   PATRICK J. BENNETT, an individual, and          )
   ACTIONCAM, LLC, an Oklahoma limited             )
   liability company,                              )
                                                   )
                         Defendants.               )


                                            JUDGMENT

          Pursuant to the September 7, 2011, Partial Judgment on Jury Verdicts [Dkt. #297], the

   court’s September 27, 2012 Opinion and Order pertaining to injunctive relief [Dkt. #347] and the

   September 30, 2012, Findings of Fact and Conclusions of Law pertaining to the Ninth Claim for

   relief in the Third Amended Complaint [Dkt. #348], judgment is hereby entered in favor of

   plaintiff Skycam, LLC, and against Patrick J. Bennett, individually, in the amount of one

   hundred thousand dollars ($100,000.00) in actual damages; against Patrick J. Bennett and

   Actioncam, LLC, jointly and severally, in the amount of four hundred and nineteen thousand

   dollars ($419,000.00) in actual damages; against Actioncam, LLC, individually, in the amount of

   seventy-five thousand dollars ($75,000.00) in punitive damages; against Patrick J. Bennett and

   Actioncam, LLC, for injunctive relief, as set forth in the court’s September 27, 2012, Opinion

   and Order [Dkt. #347]; and in favor of defendants Patrick J. Bennett and Actioncam, LLC, on

   Skycam, LLC’s Ninth Claim for Relief in the Third Amended Complaint for ownership of Patent
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   Application, US 2009/0207250 A1, and the resulting Patent, Patent No. US 8,199,197 B2, as set

   forth in the court’s Findings of Fact and Conclusions of Law [Dkt. #348].

          ENTERED this 30th day of September, 2012.
